Case 1:22-cv-00941-GBW             Document 266          Filed 04/25/25   Page 1 of 4 PageID #: 11364



                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


JAZZ PHARMACEUTICALS, INC.,

                  Plaintiff and Counter-Defendant,

        v.                                                C.A. No. 22-941-GBW

AVADEL CNS PHARMACEUTICALS, LLC,

                  Defendant and Counter-Plaintiff.



   AVADEL CNS PHARMACEUTICALS, LLC’S OMNIBUS MOTION FOR SUMMARY
            JUDGMENT AND TO EXCLUDE EXPERT TESTIMONY

        Defendant and Counter-Plaintiff Avadel CNS Pharmaceuticals, LLC (“Avadel”) respectfully

moves this Court for an Order granting summary judgment in its favor pursuant to Federal Court

Civil Rule 56, and to exclude certain opinions of Jazz Pharmaceutical, Inc.’s (“Jazz”) experts, as

follows:

                                              Summary Judgment

        Avadel respectfully requests summary judgment in its favor as follows:

        1.        Motion for Summary Judgment #1: Jazz’s regulatory compliance defense fails

because there is no evidence to establish the requisite subjective good-faith element of this defense.

        2.        Motion for Summary Judgment #2: Avadel has satisfied the second element of its

antitrust claims as a matter of law because Jazz’s wrongful listing of the ’963 patent in the FDA’s

Orange Book constitutes exclusionary conduct under Section 2 of the Sherman Act.




                                                     1
ME1 52941806v.1
Case 1:22-cv-00941-GBW            Document 266         Filed 04/25/25   Page 2 of 4 PageID #: 11365



                               Exclusion of Certain Opinions of Jazz’s Experts

        In addition, pursuant to Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharm.,

Inc., 509 U.S. 579 (1993), Avadel hereby moves to exclude expert testimony as follows:

        1.        Jazz’s expert Dr. Anupam Jena should be precluded from presenting opinions

concerning the (1) economics and regulatory framework for innovations in the pharmaceuticals

industry broadly and (2) Jazz’s purportedly procompetitive investments in pharmaceutical drugs.

        2.        Jazz’s expert Dr. Iain Cockburn should be precluded from presenting opinions

concerning (1) Jazz’s purportedly procompetitive investments in pharmaceutical drugs and (2)

critiques of Avadel’s expert Mr. Jon Orszag’s model.

        3.        Jazz’s expert Mr. Jonathan Singer should be precluded from presenting opinions

concerning whether it was reasonable for a company to list and maintain the ’963 patent in the

FDA’s Orange Book.

        4.        Jazz’s expert Mr. Daniel Troy should be precluded from presenting opinions

concerning whether it was reasonable for a company like Jazz to list and maintain the ’963 patent in

the FDA’s Orange Book.

        The grounds for these motions are set forth in Avadel’s contemporaneously filed Opening

Brief in Support of its Motions for Summary Judgment and Daubert Motions and supporting papers.




                                                   2
ME1 52941806v.1
Case 1:22-cv-00941-GBW        Document 266       Filed 04/25/25   Page 3 of 4 PageID #: 11366



                                             MCCARTER & ENGLISH, LLP
Dated: April 25, 2025
                                             /s/ Daniel M. Silver
OF COUNSEL:                                    Daniel M. Silver (#4758)
                                               Alexandra M. Joyce (#6423)
Kenneth G. Schuler                             Renaissance Centre
Marc N. Zubick                                 405 North King Street, 8th Floor
Alex Grabowski                                 Wilmington, DE 19801
Sarah W. Wang                                  (302) 984-6300
LATHAM & WATKINS LLP                           dsilver@mccarter.com
330 North Wabash Avenue, Suite 2800            ajoyce@mccarter.com
Chicago, IL 60611
(312) 876-7700                                   Attorneys for Defendant
kenneth.schuler@lw.com
marc.zubick@lw.com
alex.grabowski@lw.com
sarah.wang@lw.com

Ian R. Conner
Alan J. Devlin
Anna Rathbun
Christopher J. Brown
LATHAM & WATKINS LLP
555 Eleventh Street, NW Suite 1000
Washington, D.C. 20004
(202) 637-2200
ian.conner@lw.com
alan.devlin@lw.com
anna.rathbun@lw.com
christopher.brown@lw.com

Herman Yue
LATHAM & WATKINS LLP
1271 Avenue of the Americas
New York, NY 10020
(212) 906-1200
herman.yue@lw.com

Alfred C. Pfeiffer
LATHAM & WATKINS LLP
505 Montgomery Street, Suite 2000
San Francisco, CA 94111
(415) 395-8898
al.pfeiffer@lw.com




                                             3
ME1 52941806v.1
Case 1:22-cv-00941-GBW         Document 266       Filed 04/25/25   Page 4 of 4 PageID #: 11367



Daralyn J. Durie
Rebecca E. Weires
Tannyr Pasvantis
Eliot A. Adelson
Margaret A. Webb
Helen He
MORRISON & FOERSTER LLP
425 Market Street
San Francisco, CA 94105
(415) 268-6055
ddurie@mofo.com
rweires@mofo.com
tpasvantis@mofo.com
eadelson@mofo.com
mwebb@mofo.com
hhe@mofo.com

Kira A. Davis
Henry Huttinger
Katherine E. McNutt
MORRISON & FOERSTER LLP
707 Wilshire Boulevard
Los Angeles, CA 90017
(213) 892-5200
kiradavis@mofo.com
hhuttinger@mofo.com
kmcnutt@mofo.com

Alexander Okuliar
Haydn Forrest
MORRISON & FOERSTER LLP
2100 L Street, NW Suite 900
Washington, DC 20037, USA
(202) 887-1500
aokuliar@mofo.com
hforrest@mofo.com

Matthew C. Has
POLSINELLI
100 South Fourth Street, Suite 1000
St. Louis, MO 63102
mhans@polsinelli.com




                                              4
ME1 52941806v.1
